          Case 2:13-cr-00006-MCE Document 122 Filed 01/29/14 Page 1 of 2


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 5   Attorney for Defendant
     Harvinder Kaur
 6

 7                  IN THE UNITED STATES DISTRICT COURT
               IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,        )   Case No. 2:13-cr-0006 MCE
10                                    )
               Plaintiff,             )   WAIVER OF PERSONAL PRESENCE
11                                    )
         vs.                          )
12                                    )
                                      )
13   HARVINDER KAUR                   )
                                      )
14                                    )
               Defendant
                                      )
15

16
         Pursuant to Fed.R.Crim.P. 43, Defendant, Harvinder Kaur,
17
     hereby waives the right to be present in open court upon the
18
     hearing of any motion or other proceeding in this cause,
19
     including, but not limited to when the case is ordered set for
20
     trial, when a continuance is ordered, and when any other action
21
     is taken by the Court before or after trial, except upon
22
     arraignment, plea, empanelment of jury and imposition of
23

24
     sentence. Defendant Harvinder Kaur hereby requests the Court to

25   proceed during every absence of the defendant which the Court

     may permit pursuant to this waiver; agrees that defendant’s


                                       -1-
          Case 2:13-cr-00006-MCE Document 122 Filed 01/29/14 Page 2 of 2


 1   interest will be deemed represented at all times by the presence
 2   of defendant’s attorney, the same as if defendant were
 3
     personally present; and further agrees to be present in person
 4
     in court ready for trial any day and hour the Court may fix in
 5
     defendant’s absence.
 6
         Defendant Kaur further acknowledges that he has been
 7
     informed of her rights under Title 18 U.S.C. 3161-3174 of the
 8
     Speedy Trial Act and authorizes her counsel to set times and
 9
     delays under the Act without her being present.
10

11

12
     DATED: January 27, 2014          I consent to the above waiver of
                                      personal appearance.
13
                                      /s/Harvinder Kaur
14                                    HARVINDER KAUR
                                      Defendant
15
     DATED: January 27, 2014          I agree to the above waiver of
16                                    personal appearance.
17                                    /s/Michael B. Bigelow
                                      MICHAEL B. BIGELOW
18

19

20                                    ORDER
21
         I approve the above waiver of personal appearance.
22
     Dated:   January 27, 2014
23

24

25




                                       -2-
